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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

                      Plaintiff,

v.                                                         Civil No. 16-CV-00743-KG-CEG
                                                           Criminal No. 14-CR-2133-KG
JONATHAN GORDON MARSH,

                      Defendant.

      STIPULATED ORDER EXTENDING TIME FOR DEFENDANT TO FILE REPLY

       THIS MATTER comes before the Court on the stipulation of the Parties to extend the

time for the Defendant to file a reply to the United States’ response to Defendant’s Motion to

Vacate, Set Aside, or Correct Sentence pursuant 28 U.S.C. 2255.

       Defendant shall file a reply no later than August 16, 2016.




                                     UNITED STATES DISTRICT JUDGE




PREPARED AND SUBMITTED BY:                  APPROVED BY:


/s/ C. J. McElhinney                        Email Approval 8/4/16
C. J. McElhinney                            Brock Taylor
Attorney for Defendant Marsh                Attorney for the United States




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